      Case 2:19-cv-02743-KHV-JPO Document 33 Filed 10/19/20 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF KANSAS

JENNIFER McQUEEN,                               )
                                                )
                           Plaintiff,           )
                                                )
vs.                                             )      Case No. 2:19-02743-KHV
                                                )
                                                )
NORTHROP GRUMMAN INNOVATION                     )
SYSTEMS, INC.                                   )
                Defendant.                      )


                         AMENDED SCHEDULING ORDER

      On October 19, 2020, the parties filed a joint motion to amend the scheduling order

(ECF No. 32). The court finds good cause for the requested extensions and amends the

scheduling order as follows:

      a.     All discovery must be commenced or served in time to be completed by

November 30, 2020.

      b.     All other potentially dispositive motions (e.g., motions for summary

judgment), must be filed by January 11, 2021.

      c.     Pursuant to Fed. R. Civ. P. 16(e), a pretrial conference is scheduled for

December 21, 2020 at 11:00 AM, in the U.S. Courthouse, Courtroom 223, Kansas City,

Kansas; this pretrial conference may be conducted by telephone if the judge determines the

proposed pretrial order is in the appropriate format and there are no other problems

requiring counsel to appear in person. Unless otherwise notified, the undersigned U.S.

Magistrate Judge will conduct the conference. No later than December 7, 2020, defense
       Case 2:19-cv-02743-KHV-JPO Document 33 Filed 10/19/20 Page 2 of 2




counsel must submit the parties’ proposed pretrial order (formatted in Word or

WordPerfect)         as       an       attachment       to     an      e-mail   sent      to

ksd_ohara_chambers@ksd.uscourts.gov. The proposed pretrial order must not be filed

with the Clerk’s Office.

       d.      This case is re-set for trial on the court’s docket beginning on August 16,

2021 at 9:00 AM. Unless otherwise ordered, this is not a “special” or “No. 1” trial setting.

Therefore, during the month preceding the trial docket setting, counsel should stay in

contact with the trial judge=s courtroom deputy to determine the day of the docket on which

trial of the case actually will begin. The trial setting may be changed only by order of the

judge presiding over the trial. The parties and counsel are advised that any future request

for extension of deadlines that includes a request to extend the dispositive motion deadline

will likely result in a new (i.e., later) trial date.

       All other provisions of the original scheduling order shall remain in effect. The

schedule adopted in this amended scheduling order shall not be modified except by leave

of court upon a showing of good cause.

       IT IS SO ORDERED.

       Dated October 19, 2020, at Kansas City, Kansas.

                                                s/ James P. O’Hara
                                               James P. O’Hara
                                               U.S. Magistrate Judge
